         Case 1:19-cr-00018-ABJ Document 391 Filed 06/27/20 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                                      Criminal No. 19-cr-18-ABJ

 ROGER J. STONE, JR.,

                                  Defendant.


                        GOVERNMENT’S RESPONSE TO COURT’S
                       JUNE 26, 2020 MINUTE ORDER (ECF NO. 390)

       On June 26, 2020, the Court issued a Minute Order, ECF No. 390, granting in part and

denying in part defendant Roger J. Stone’s Unopposed Motion to Extend Surrender Date, ECF No.

381. The Minute Order was accompanied by a sealed Memorandum Opinion explaining the

Court’s reasons. The Government agrees with the Court “that the sealed memorandum opinion

could be unsealed in its entirety because while it refers to sealed pleadings, it does not identify any

medical condition or conditions or contain any private medical information.” Minute Order, ECF

No. 390. The Memorandum Opinion should promptly be unsealed without redaction.

                                                       Respectfully submitted,

                                                       MICHAEL R. SHERWIN
                                                       N.Y Bar No. 4444188
                                                       Acting United States Attorney for the
                                                       District of Columbia

                                                  By: /s/ J.P. Cooney
                                                      J.P. COONEY, D.C. Bar #494026
                                                      Assistant United States Attorney
                                                      Chief, Fraud & Public Corruption Section
                                                      Phone: 202-252-7281

                                                       /s/ John D. Crabb
                                                       JOHN D. CRABB JR., N.Y. Bar #2367670
                                                       Assistant United States Attorney
                                                       Chief, Criminal Division
         Case 1:19-cr-00018-ABJ Document 391 Filed 06/27/20 Page 2 of 2




                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing pleading was served via ECF to counsel for the

defendant, Roger J. Stone, on June 27, 2020.

                                               /s/ J.P. Cooney
                                               J.P. COONEY, D.C. Bar No. 494026
                                               Assistant United States Attorney
                                               Chief, Fraud & Public Corruption Section
